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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

             Plaintiff,                                         Case No. 1:97-cr-76

 v.                                                             HON. JANET T. NEFF

 SHAWTE DABAR PRICE,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Shawte Dabar Price has filed a motion for modification or reduction of sentence (Dkt

609) pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who has

been sentenced based on a sentencing range that has subsequently been lowered by the Sentencing

Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States Sentencing Guidelines

modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to cocaine base (crack cocaine), and

U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November 1, 2011.

U.S.S.G. § 1B1.10(c).

       Defendant is entitled to a reduction of sentence consistent with the policy statements. Therefore,

IT IS HEREBY ORDERED that Defendant's motion for modification of sentence (Dkt 609) pursuant

to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant's sentence is reduced to 120 months.


DATED: April 10, 2012                               /s/ Janet T. Neff
                                                   JANET T. NEFF
                                                   United States District Judge
